This matter was before the court heretofore. A memorandum filed by the court, Cornell, J., suggested,
      "The desirability that the question raised be disposed of in orderly fashion suggests the propriety of permitting the appellant to withdraw his answer and to file another and different pleading. This may be done, if done, on or before December 26th, 1935."
It appears to the court, upon examination of the file, that such course should have been followed. No change in the pleadings has been made since the filing of the memorandum referred to; the matter as it then was, having again been claimed upon the short calendar for a hearing upon the plea in abatement.
   The court suggests that the course suggested by the court heretofore be considered by the appellant and that action in accordance therewith be taken on or before February 14, 1936.